                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

ROBERT E. PERDUE,                             )
                                              )
       Plaintiff,                             )
                                              )
V.                                            )         No.: 3:07-CV-00105
                                              )         JURY DEMANDED
COY L. BEST and RALPH L. BEST,                )         PHILLIPS/SHIRLEY
                                              )
       Defendants.                            )

ANSWER OF CINCINNATI INSURANCE COMPANY, UNINSURED/UNDERINSURED
    MOTORIST INSURANCE CARRIER, PURSUANT TO THE TENNESSEE
           UNINSURED/UNDERINSURED MOTORIST STATUTE


       Comes Cincinnati Insurance Company, Uninsured/Underinsured Motorist Insurance

Carrier, and files its Answer pursuant to the Tennessee Uninsured/Underinsured Motorist Statute

and for answer to the cause of action says:

       1.      Cincinnati Insurance Company admits that a lawsuit has been filed by plaintiff

against defendants. Cincinnati Insurance Company has no knowledge concerning the merits of the

claim or alleged damages and, accordingly, demands strict proof of all of the same.

       2.      Cincinnati Insurance Company, upon information and belief, admits the allegations

contained in Paragraphs 1, 2, and 3 of the Complaint.

       3.      Cincinnati Insurance Company has no knowledge concerning the allegations

contained in Paragraph 4 of the Complaint and demands strict proof.

       4.      Upon information and belief, Cincinnati Insurance Company admits that plaintiff

was driving his vehicle at the location and in the direction referred to in Paragraph 5 of the

Complaint. Further upon information and belief, Cincinnati Insurance Company admits that a

collision occurred between a vehicle being operated by plaintiff and a vehicle being operated by

defendant Coy L. Best.
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       5.      Cincinnati Insurance Company has no knowledge concerning the allegations

contained in Paragraph 6 of the Complaint and, accordingly, demands strict proof.

       6.      Cincinnati Insurance Company admits the existence of the statutes referred to in

Paragraph 7 of the Complaint but has no knowledge concerning their applicability or violation and

demands strict proof.

       7.      Cincinnati Insurance Company, upon information and belief, admits that defendant

Coy L. Best was operating the vehicle in question with the permission of the owner, defendant

Ralph L. Best. Cincinnati Insurance Company has no knowledge concerning the remaining

allegations contained in Paragraph 8 of the Complaint and, accordingly, demands strict proof.

       8.      Cincinnati Insurance Company has no knowledge concerning the allegations

contained in Paragraph 9 of the Complaint and, accordingly, demands strict proof.

       9.      Cincinnati Insurance Company asserts that it has a policy of insurance in effect that

provides uninsured/underinsured motorist coverage for plaintiff Robert E. Perdue in this cause

with applicable coverage limits in the amount of $100,000. Cincinnati Insurance Company further

asserts all policy defenses as well as all defenses under the Tennessee Uninsured/Underinsured

Motorist statute.       Cincinnati Insurance Company moves that all issues respecting

uninsured/underinsured motorist coverage be bifurcated from the trial in this cause.

       10.     All allegations in the Complaint not hereinabove admitted, denied or explained are

here and now denied as fully and completely as if separately and specifically denied.

       WHEREFORE, Cincinnati Insurance Company denies that it is indebted to the plaintiff in

the sum sued for or any amounts and demands a jury to try this cause of action.


                                             /s/ Richard W. Krieg_________________________
                                             Richard W. Krieg, Esq. (BPR #000893)

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Attorneys for Cincinnati Insurance Company,
 Uninsured/Underinsured Motorist Insurance Carrier




                                 CERTIFICATE OF SERVICE


                 I hereby certify that on this the 17th day of April, 2007, a copy of the foregoing
ANSWER OF CINCINNATI INSURANCE COMPANY, UNINSURED/UNDERINSURED
MOTORIST           INSURANCE          CARRIER,        PURSUANT         TO     THE      TENNESSEE
UNINSURED/UNDERINSURED MOTORIST STATUTE was filed electronically. Notice of
this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
on the electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may
access this filing through the Court’s electronic filing system.



                                              /s/ Richard W. Krieg
                                              Richard W. Krieg, Esq. (BPR #000893)




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